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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

BRIAN KEEGAN, individually and on behalf of
those similarly situated,

Case Number: 3:24-cv-01698-TSH
Plaintiff,

-against-

MICHAEL LEE, TRAVIS MYERS, and MIHON
CORP.,

Defendants.

NOTICE OF DISMISSAL WITH PREJUDICE

PLEASE TAKE NOTICE that Plaintiff hereby dismisses the within action,
pursuant to Rule 41(a)(1)(A)(i), Fed. R. Civ. P., with prejudice and with each party to bear
their own fees and costs. Putative class claims are dismissed without prejudice.

Dated: May 20, 2024

/s/ HAROLD M. HOFFMAN, ESO.
ATTORNEY FOR PLAINTIFF
ADMITTED PRO HAC VICE

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